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Attorneys for Defendant Google LLC


                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION



LARRY GOLDEN,                             )      Case No. 4:22-cv-05246-HSG
                                          )
      Plaintiff,                          )      CERTIFICATE OF SERVICE
                                          )
v.                                        )      Date:      December 1, 2022
                                          )      Time:      2:00 p.m.
GOOGLE LLC,                               )      Place:     Courtroom 2
                                          )      Judge:     Hon. Haywood S. Gilliam, Jr.
      Defendant.                          )
_________________________________________ )




                                                                        CERTIFICATE OF SERVICE
                                                                    Case No. 4:22-cv-05246-HSG
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I, Sachli Balazadeh-Nayeri, certify as follows under 28 U.S.C. § 1746:
       I am an attorney at Warren Lex LLP and admitted to practice before this Court. My business
address is 2261 Market Street, No. 606, San Francisco, California, 94114. On October 26, 2022, I served
the following documents:

       1.      Notice of Motion and Motion to Dismiss Complaint by Defendant Google LLC;

       2.      Proposed Order Granting Motion to Dismiss Complaint by Defendant Google LLC;

       3.      Notice of Motion and Motion to Strike Complaint by Defendant Google LLC;

       4.      Proposed Order Granting Motion to Strike Complaint by Defendant Google LLC;

       5.      Certificate of Interested Entities of Defendant Google LLC;

       6.      Notice of Attorney Appearance of Matthew S. Warren; and

       7.      Notice of Attorney Appearance of Sachli Balazadeh-Nayeri
on the plaintiff by First Class Mail at the following address:
       Larry Golden
       740 Woodruff Road, No. 1102
       Greenville, South Carolina, 29607

by placing them in a sealed envelope with postage paid and placing the envelope in the exclusive custody
of the United States Postal Service.
       On the same day, I also sent a courtesy copy of these documents by electronic mail to Mr. Golden
at atpg-tech@charter.net.
       I certify under penalty of perjury that the foregoing is true and correct. Executed on October 26,
2022 at San Francisco, California.
                                                                 ________________________________
                                                                 Sachli Balazadeh-Nayeri




                                                 –2–                            CERTIFICATE OF SERVICE
                                                                             Case No. 4:22-cv-05246-HSG
